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                              UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION
 ___________________________________________
 IN RE COOK MEDICAL, INC., IVC FILTERS               Case No. 1:14-ml-2570-RLY-TAB
 MARKETING, SALES PRACTICES AND                      MDL No. 2570
 PRODUCTS LIABILITY LITIGATION
 ___________________________________________
 This document relates to:
 26 Cases Listed in Exhibit A
 ___________________________________________

                   COOK DEFENDANTS’ MEMORANDUM IN SUPPORT OF
                     OMNIBUS MOTION FOR SUMMARY JUDGMENT
                         BASED ON STATUTE OF LIMITATIONS

          The Cook Defendants1 move the Court for summary judgment in to the 26 cases filed by

 the plaintiffs listed in Exhibit A. Because these cases were originally filed in this district, the

 Southern District of Indiana, Indiana’s two-year statute of limitations applies to the claims.

 These Plaintiffs, however, failed to commence their actions within two years after they

 underwent surgical “open retrieval” procedures, which was the latest possible point at which

 their causes of action accrued. Plaintiffs’ non-tort claims also fail as a matter of law, and Cook is

 therefore entitled to summary judgment on all of these Plaintiffs’ claims.

                                         INTRODUCTION

          This motion is another step in Cook’s effort to eliminate from this MDL the large body of

 cases that assert claims that are either legally untenable or indisputably barred as a matter of law.

 In the present motion, all of the cases involve open retrievals,2 and all of these Plaintiffs’ product

 liability claims are barred by the applicable statute of limitations—a fact that should have been

 obvious when Plaintiffs’ attorneys first evaluated the cases. See, e.g., Orders, Dkts. 7715, 7809,

 1
        As used in this memorandum, “Cook” and “the Cook Defendants” refer to Defendants
 Cook Incorporated, Cook Medical LLC (f/k/a Cook Medical Incorporated), and William Cook
 Europe ApS.
 2
        The 26 plaintiffs listed in Exhibit A are referred to collectively as “Plaintiffs.” As
 necessary, they are referred to individually by their names (e.g., “Plaintiff Thomas”).


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 Entry on the Cook Defendants’ Motion of Summary Judgment, Graham (1:15-cv-00764), Dkt.

 164 (all granting summary judgment based on statutes of limitation).

        As Cook has noted before, docket management through the elimination of large groups of

 meritless cases is one of the Court’s most important charges in overseeing this MDL. See Dkt.

 11726 at 1-3 (citing, inter alia, In re Mentor Corp. Obtape Transobturator Sling Prods. Liab.

 Litig., 2016 WL 4705807, at *1 (M.D. Ga. Sept. 7, 2016)). As Cook has also observed, the

 proliferation of time-barred cases like those at issue here is a considerable obstacle to moving

 this litigation forward in an orderly manner. The Court should intervene in these cases now, and

 neither Cook nor the Court should be forced to expend resources on discovery or case-specific

 motion practice where the undisputed facts available right now show that the statute of

 limitations bars these Plaintiffs’ product liability claims.   Because these Plaintiffs’ non-tort

 claims also fail as a matter of law for various reasons, the Cook Defendants are entitled to

 summary judgment in these cases.

                    STATEMENT OF UNDISPUTED MATERIAL FACTS

        1.      All of the Plaintiffs listed on Exhibit A underwent surgical procedures or “open

 retrievals” to remove their IVC filters. Due to the number of cases subject to this motion, the

 Cook Defendants have reviewed Plaintiffs’ short-form complaints, Categorization Forms, and

 supporting medical records, and summarized the relevant information from those materials in

 Exhibit A.3 See Affidavit of Eldin Hasic, attached as Exhibit A, and accompanying chart.




 3
         See Fed. R. Evid. 1006 (permitting parties to submit evidence through summaries and
 charts when the information is otherwise cumbersome to present to the Court). The Court has
 confirmed that the information in the categorization forms and supporting records may be used
 for limited summary judgment purposes. See Entry on the August 20, 2019 Status Conference,
 Dkt. 11602 (denying PSC’s motion to strike and setting briefing schedule).

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        2.      Exhibit A provides the following information for all the listed Plaintiffs’ cases:

                •   Plaintiff’s Name;

                •   Plaintiff’s Case Number;

                •   A short description of the categories selected in each Plaintiff’s Categorization

                    Form, along with the dates on the specific medical record(s) submitted in

                    support of those claims;

                •   The date of Plaintiff’s open removal procedure, based on the medical records

                    submitted by Plaintiff,4 and

                •   The date on which the Plaintiff filed the case in this Court.

        3.      In each of the cases on Exhibit A, the date on which the Plaintiff filed his or her

 action is more than two years after the date of the open removal procedure reflected in the

 medical record(s) that the Plaintiff submitted as evidence of injury with that Plaintiff’s

 categorization form.

        4.      All of the cases listed in Exhibit were originally filed in the United States District

 Court for the Southern District of Indiana.

                                    STANDARD OF REVIEW

        “[S]ummary judgment procedure is governed by federal law” and “[f]ederal law defines

 the standard for evaluating the sufficiency of the evidence.” Maroules v. Jumbo, Inc., 452 F.3d

 639, 645 (7th Cir. 2006). “A district court should grant summary judgment only if the pleadings,

 depositions, answers to interrogatories, admissions, and affidavits ‘show that there is no genuine

 issue as to any material fact and that the moving party is entitled to a judgment as a matter of


 4
        Because these records were submitted by Plaintiffs’ attorneys, Cook does not believe
 there will be any dispute as to their contents. To the extent there is any dispute, Cook will
 address those concerns on reply, and is happy to provide further records to the Court upon
 request.

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 law.” Miller v. A.H. Robins Co., 766 F.2d 1102, 1104 (7th Cir. 1985) (quoting Fed. R. Civ. P. 56).

 In evaluating a motion for summary judgment, the court must view the facts and make all

 reasonable inferences that flow from them in a light most favorable to the non-moving party.

 Zillak v. AstraZeneca LP, 324 F.3d 518, 520 (7th Cir. 2003).

           Whether a claim has been brought within the relevant period of limitations presents an

 issue of state law. See In re Bridgestone/Firestone Inc. ATX ATXII, Wilderness Tires Prod. Liab.

 Litig., 2002 WL 31689264, at *2 (S.D. Ind. Nov. 20, 2002) (“As a court sitting in diversity, we

 must look to state law in deciding all matters of substance, including the operation of the relevant

 statutes of limitations.”) (citing Horbach v. Kaczmarek, 288 F.3d 969, 976 (7th Cir. 2002)).

                                            ARGUMENT

 I.        Indiana Law Applies to Plaintiffs’ Claims Because Plaintiffs Originally Filed Their
           Cases in This Court and Statute of Limitations Are Procedural Under Indiana Law

           Indiana’s two-year statute of limitations applies to all of Plaintiffs’ product liability

 claims.

           A.     Indiana Choice-of-Law Rules Apply to These Cases Because They Were
                  Originally Filed in this Court

           Federal courts apply forum choice-of-law rules to determine the applicable state law. See

 e.g., Couch v. Wilco Life Ins. Co., 363 F. Supp. 3d 886, 893 (S.D. Ind. 2019) (“A federal court

 sitting in diversity, as this Court does, must apply the choice of law provisions of the forum

 state.”); Shifrin v. Liberty Mut. Ins., 991 F. Supp. 2d 1022, 1034 (S.D. Ind. 2014) (“A federal

 court sitting in diversity must apply the choice of law provisions of the forum state.”); Tanner v.

 Jupiter Realty Corp., 433 F.3d 913, 915 (7th Cir. 2006) (“Federal courts sitting in diversity apply

 the choice-of-law rules of the forum state to determine the applicable substantive law.”) (citing

 Jupiter Aluminum Corp. v. Home Ins. Co., 225 F.3d 868, 873 (7th Cir. 2000), and Klaxon Co. v.

 Stentor Elec. Mfg. Co., 313 U.S. 487, 496 (1941)).

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        In the context of an MDL, a court applies the choice-of-law rules of the state where the

 case “originated.” In re Watson Fentanyl Patch Prods. Liab. Litig., 977 F. Supp. 2d 885, 888

 (N.D. Ill. 2013) (citing In re Yasmin & Yaz (Drospirenone) Mktg., Sales Practices & Prod. Liab.

 Litig., 2011 WL 1375011, at *5 (S.D. Ill. Apr. 12, 2011)) (“the law (including the choice of law

 rules) that applies in the MDL context is the law of the state where the case originated.”); In re

 Eli Lilly & Co., Prozac Prods. Liab. Litig., 789 F. Supp. 1448, 1450 (S.D. Ind. 1992) (citing 15

 WRIGHT & MILLER, FEDERAL PRACTICE AND PROCEDURE § 3866 (1986) (collecting cases)).

        All 26 of the cases at issue here were originally filed in this Court. See Exhibit A. The

 Court already addressed the question of “case origination” in its rulings regarding the

 applicability of Lexecon to the current round of bellwether cases. As the Court explained, it has

 “complete authority over cases originally filed in this court, just as it would over any other cases

 originally filed in this district.” Entry for June 13, 2019, Dkt. 11131 (emphasis added). Because

 all 26 cases here were originally filed in this Court, these cases “originated” here, and the choice-

 of-law rules of the forum state of Indiana apply. Couch, 363 F. Supp. 3d at 893; Shifrin, 991 F.

 Supp. 2d at 1034; Tanner, 433 F.3d at 915 (7th Cir. 2006); Klaxon Co., 313 U.S. at 496.

        B.      Indiana Statue of Limitations Govern Plaintiffs’ Claims Because Statutes of
                Limitation Are Procedural Under Indiana Law

        Under Indiana choice-of-law rules, Indiana’s statute of limitations applies to these

 Plaintiffs’ claims. On substantive issues, Indiana was a traditional lexi loci delicti state, and its

 current choice-of-law rules retain a lex loci presumption “that the law of the place of the tort

 applies because in a ‘large number of cases, the place of the tort will be significant and the place

 with the most contacts.”’ Simon v. U.S., 805 NE.2d 798, 805 (Ind. 2014) (quoting Hubbard Mfg.

 Co. v. Greeson, 515 N.E.2d 1071, 1073 (Ind. 1987)). Under well-settled Indiana law, however,

 statutes of limitations are procedural in nature, not substantive. As a consequence, when choice-


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 of-law issues arise, Indiana courts apply Indiana’s statutes of limitation because “[a] statute of

 limitations is a procedural constraint on when suit may be filed.” Smither v. Asset Acceptance,

 LLC, 919 N.E.2d 1153, 1158 (Ind. Ct. App. 2010) (emphasis added) (citing Kissel v. Rosenbaum,

 579 N.E.2d 1322, 1326-27 (Ind. Ct. App. 1991)); see also Lee v. Estate of Cain, 476 N.E.2d 922,

 924 (Ind. Ct. App. 1985) (“It is well settled that the law of the forum state governs in procedural

 matters and the limitations statutes, being procedural in nature, fall within the rule.”); Horvath v.

 Davidson, 264 N.E.2d 328, 332 (Ind. Ct. App. 1970) (“If an action is barred by the statute of

 limitations of the forum, no action can be maintained though the action is not barred in the state

 where the cause of actions arose.”).

         This Court and its sister court in the Northern District have repeatedly confirmed this

 conclusion, holding that forum law governs choice-of-law issues and requires the court to apply

 Indiana’s statutes of limitations to state-law-based cases commenced in the two districts:

 ‘“Because in Indiana statutes of limitations are procedural in nature, Indiana choice-of-law rules

 state that the statute of limitations of the forum state, Indiana, will apply.”’ Bitler Inv. Venture II,

 LLC, v. Marathon Ashland Petroleum, LLC, 779 F. Supp. 2d 858, 889 (N.D. Ind. 2011) (quoting

 Autocephalous Greek–Orthodox Church of Cyprus v. Goldberg & Feldman Fine Arts, Inc., 717

 F. Supp. 1374, 1385 (S.D. Ind. 1989), aff’d, 917 F.2d 278 (7th Cir. 1990); see also McLaughlin

 Equip. Co. v. Servaas, 2004 WL 1629603, at *46 (S.D. Ind. Feb. 18, 2004) (“The court concludes

 that it must apply Indiana’s choice of law rules including its statute of limitations to

 McLaughlin’s state law claims, even though another state’s substantive law governs those

 claims. To the extent McLaughlin suggests that the court should apply the statute of limitations

 of a different state because the substantive law governing its claims are supplied by that state, it

 is simply incorrect.”) (internal citations omitted); Bailey v. Skipperliner Indus, Inc., 278 F. Supp.

 2d 945, 952 (N.D. Ind. 2003) (“Because Indiana treats statutes of limitations as procedural, this

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 Court, sitting in diversity, is compelled to do so as well. This Court therefore declines Plaintiffs’

 invitation to alter current Indiana law and hold that statutes of limitation are substantive with

 regard to contract actions.”). Indiana’s statute of limitations therefore applies to all 26 of the

 cases here.

 II.     Plaintiffs’ Personal Injury Claims Are Time-Barred by The Applicable Indiana Two-
         Year Statute of Limitations.

         Cook is entitled to summary judgment on Plaintiffs’ personal injury tort claims (Counts

 I – IV and Count VI5) because the statute of limitation bars the claims as a matter of law.

         Indiana imposes a two-year statute of limitations on product liability claims. See Ind.

 Code § 34-20-3-1 (“a product liability action must be commenced . . . within two (2) years after

 the cause of action accrues”). This limitation “applies in any product liability action in which the

 theory of liability is negligence or strict liability in tort.” Id.

         Although “the statute does not define the term “accrues,’” In re Mirena IUD Prods. Liab.

 Litig. (Truitt), 29 F. Supp. 3d 345, 352 (S.D.N.Y. 2014) (analyzing Indiana statute of limitations

 law), Indiana courts have adopted a limited discovery rule to determine the accrual date, holding

 that the statute of limitations ‘“begins to run from the date that the plaintiff knew or should have

 discovered that she suffered an injury or impingement, and that it was caused by the product or

 act of another.”’ Nelson v. Sandoz Pharms. Corp., 288 F.3d 954, 966 (7th Cir. 2002) (quoting

 Degussa Corp. v. Mullens, 744 N.E.2d 407, 410 (Ind. 2001)). To determine when a reasonably

 diligent plaintiff should have discovered the claimed injury, Indiana courts ask “whether a

 reasonable person in the [plaintiff’s] position . . . possessing the information [plaintiff] did when


 5
        Indiana law treats implied warranty claims claiming personal injury as product liability
 claims and applies the product liability statute of limitations to such claims. See Ind. Code § 34-
 20-1-1; see also B & B Paint Corp. v. Shrock Mfg., Inc., 568 N.E.2d 1017, 1019 (Ind. Ct. App.
 1991) (noting that action for negligence or strict liability couched in terms of breach of warranty
 under the UCC is nevertheless subject to product liability statute of limitations).

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 [she] did, could have discovered through the exercise of ordinary diligence that the product

 [caused her harm].” Horn v. A.O. Smith Corp., 50 F.3d 1365, 1370 (7th Cir. 1995) (applying

 Indiana law). At that point, the law “contemplate[s] that persons armed with these indices have a

 fair opportunity to investigate available sources of relevant information and to decide whether to

 bring their claims in court within the time limitations in the statute.” Barnes v. A.H. Robins Co.,

 476 N.E.2d 84, 87–88 (Ind. 1985).

        Over the years, courts interpreting the Indiana statute of limitations and the associated

 discovery rule have made clear that the accrual date is analyzed from an objective perspective,

 and that diagnosis of the complication or injury at issue by a physician or its discovery on

 medical imaging objectively triggers the statute of limitations, at which point the plaintiff is

 presumed to know that his or her claims have accrued. See Nelson, 288 F.3d at 966 (“[T]he

 plaintiff’s suspicion, standing alone, about the source of her injury is [generally] insufficient to

 trigger the onset of the limitations period …[, but] the limitations period will begin to run when a

 physician there is a ‘reasonable’ possibility, if not a probability that a specific product caused the

 plaintiff’s injury.”) (quoting Degussa, 744 N.E.2d at 411)); In re Mirena IUD Prods. Liab. Litig.

 (Truitt), 29 F. Supp. 3d at 352 (analyzing case under statute of limitations laws of both Indiana

 and Texas and holding in an IUD case that the statute of limitations was triggered “at the latest,

 when Plaintiff learned that the Mirena perforated her uterus and would have to be removed”);

 Cossman v. DaimlerChrysler Corp., 108 Cal. App. 4th 370, 380 (2003) (holding under Indiana

 law that the cause of action accrued when the plaintiff was diagnosed with mesothelioma even

 though doctors “‘couldn’t figure out where’ she had contracted the disease”); Withers v. Sterling

 Drug, Inc., 319 F. Supp. 878, 881 (S.D. Ind. 1970) (holding in a pharmaceutical drug case that

 “plaintiff’s cause of action accrued when she discovered her injury, not when she learned that her

 injuries were permanent”).

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        In medical device cases like these, courts applying Indiana law hold that the accrual date

 is the date of the injury, and that that date logically cannot be any later than the date of a

 procedure to correct and/or remove the device. See In re Mirena IUD Prods. Liab. Litig. (Truitt),

 29 F. Supp. 3d at 352 (applying both Indiana and Texas law). In addressing migration and

 perforation of the uterus by an IUD, the Mirena court held that “when an IUD is found

 somewhere in a woman’s body where it is not supposed to be—here, Plaintiff’s abdomen—and

 surgery is required to remove it, a diligent individual would know, at the very least, that there

 was a ‘reasonable possibility’ that the IUD harmed her and she should therefore make further

 inquiry to determine her legal rights.” Id.

        This Court reached the same conclusion in Neuhauser v. A.H. Robins Co., 573. F. Supp. 8

 (S.D. Ind. 1983). The Neuhauser plaintiff received a Dalkon IUD shield in 1972 and became

 pregnant with the device in place in January 1974. Id. at 9. The pregnancy resulted in a

 miscarriage and removal of the device in June 1974. Id. The plaintiff had further problems, later

 diagnosed as carcinoma of the cervix, that prompted additional surgeries, including the removal

 of her fallopian tubes and ovaries in 1978, but she did not file her case until 1981. Id. at 9-10.

 This Court found the claim time-barred, explaining that:

        In Indiana a cause of action accrues at the time when both legal injury and
        damage have occurred, resulting in liability. In this case that time is June 1974,
        when the plaintiff’s pregnancy, which began while the Dalkon Shield was in
        place, was aborted. The record indicates that the plaintiff’s gynecologist-
        obstetrician informed her when she became pregnant in January that the presence
        of the Dalkon Shield could cause problems—that if it were removed immediately
        it could precipitate a miscarriage, but if left in, the Shield could adversely affect
        the pregnancy in any event. Those fears were realized when the plaintiff suffered
        her miscarriage in June. Under Indiana’s two year statute of limitations, the time
        within which to file suit expired in June 1976.

 Id. at 9. The Indiana Court of Appeals has held likewise, ruling that product liability claims

 based on a broken implantable catheter accrued when the device was removed, not when plaintiff



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 sought subsequent treatment that noted a retained fragment. See Wojcik v. Almase, 451 N.E.2d

 336, 342 (Ind. Ct. App. 1983) (holding that because “the catheter was inserted and removed

 between June 26 and September 21, 1978, it would have broken off during that time. Thus, even

 accepting all of [plaintiff’s] allegations as true, including his relation back argument, his original

 complaint was filed more than two years after his cause of action accrued.”).6

        The Plaintiffs’ claims here have exactly the kind of objective marker of accrual that these

 cases recognized: an open surgical procedure to remove the IVC filter at issue. Such a surgical

 procedure to remove an IVC filter is sufficient was a matter of Indiana law to alert a plaintiff of a

 “reasonable possibility” that the IVC filter was the cause of the Plaintiff’s injuries and that the

 Plaintiff should make further inquiries about any legal rights related to those injuries. See

 Wojcik, 451 N.E.2d at 342. These Plaintiffs’ IVC filter claims thus accrued as a matter of Indiana

 law on the dates of their respective open removal procedures. See Wojcik, 451 N.E.2d at 342

 (holding that plaintiff’s claims accrued on the date of the fracture of the catheter and not on the

 subsequent discovery on imaging of the broken fragment); In re Mirena IUD Prods. Liab. Litig.

 (Truitt), 29 F. Supp. 3d at 352; Cossman, 108 Cal. App. 4th at 380 (claims regarding asbestos-

 6
         Indiana courts have categorically rejected the argument that the Indiana statute of
 limitations does not begin to run until the plaintiff learns of the legal cause and/or legal theory
 applicable to his or her claims. Although a few states arguably take that view, Indiana does not:
 “[A] plaintiff need not ‘uncover the legal theory for holding a defendant liable for the action to
 accrue. Rather, the plaintiff must only be aware that the defendant caused him injury.”’ In re
 Mirena IUD Prods. Liab. Litig. (Truitt), 29 F. Supp. 3d at 352 (quoting Frey v. Bank One, 91
 F.3d 45, 47 (7th Cir. 1996) (applying Indiana law)); see also Perryman v. Motorist Mut. Ins. Co.,
 846 N.E.2d 683, 689 (Ind. Ct. App. 2006) (“[T]he discovery rule does not mandate that plaintiffs
 know with precision the legal injury that has been suffered, but merely anticipates that a plaintiff
 be possessed of sufficient information to cause him to inquire further in order to determine
 whether a legal wrong has occurred.”). Indeed, the Neuhauser case categorically rejected
 plaintiff’s argument that “her cause of action did not accrue until she discovered the causal
 connection between her injury and the Dalkon Shield . . . when she was informed of a report on
 the television program ‘60 Minutes’ describing the dangers of the Dalkon Shield.” 573 F. Supp.
 at 9. As discussed above, this Court instead held that the plaintiff’s injuries accrued years
 earlier. Id. at 10 (“The record establishes that the plaintiff knew as early as 1974 that the Dalkon
 Shield probably caused her miscarriage.”).

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 related mesothelioma accrued when plaintiff was diagnosed with the disease); Withers, 319 F.

 Supp. at 881 (holding that “plaintiff’s cause of action accrued when she discovered her injury,

 not when she learned that her injuries were permanent”).

        Indeed, both this Court and the Bard Filter MDL court have rejected arguments that IVC

 filter claims could accrue at a point after removal of the filter. This Court granted summary

 judgment in Plaintiff Valerie Graham’s case early on in the MDL because “[t]he injuries

 described in her Complaint … were known to her immediately after her September 9 surgery.

 The limitations period, therefore, expired on or about September 10, 2013, nearly two years

 before she filed her Complaint.”7 Graham (1:15-cv-00764) Dkt. 164. The Bard Filter MDL

 court likewise granted summary judgment under Nebraska law in a bellwether case that involved

 tilt, perforation, and an unsuccessful retrieval attempt, stating: “Discovery refers to the fact that

 one knows of the existence of an injury . . . and not that one knows who or what may have

 caused the injury. It is not necessary that a plaintiff have knowledge of the exact nature or source

 of the problem, but only that a problem existed.” In re Bard IVC Filters Prods. Liab. Litig., 2018

 WL 3957737, at *4 (D. Ariz. Aug. 17, 2018). Indiana and Nebraska law are similar in their focus

 on the general factual underpinnings of the claimed injury to trigger the plaintiff’s duty to

 investigate his or her claims further.

        The 26 plaintiffs listed on Exhibit A filed suit against Cook in this Court, claiming they

 were injured by having to undergo a surgical procedure to remove their IVC filters. The law in

 Indiana is clear—these Plaintiffs were required to commence their lawsuit within two years of

 7
          Graham was briefed and decided prior to this Court’s June 13, 2019 ruling on Lexecon,
 that it has “complete authority over cases originally filed in this court, just as it would over any
 other cases originally filed in this district.” Entry for June 13, 2019, Dkt. 11131. As a
 consequence, Kansas law was applied in Graham. The result would be no different were the
 motion filed today, given that Kansas and Indiana (and also Illinois in the Gage case) all have
 two-year statute of limitations for personal injury actions. Compare Kan. Stat. § 60-514 and Ill.
 Comp. Stat. § 5/13-202 with Ind. Code § 34-11-2-4.

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 the surgeries that necessarily manifested the injuries in which they base their claims. They did

 not commence their actions within two years, and the Cook Defendants are therefore entitled to

 summary judgment on Plaintiffs’ product liability claims.

 III.   Plaintiffs’ Non-Tort Claims Also Fail as a Matter of Law

        Although Plaintiffs’ Master Complaint asserts and Plaintiffs’ short-form Complaints

 adopt some non-tort-based claims, those claims likewise fail as a matter of law and do not

 preclude entry of summary judgment in Cook’s favor in these cases.8

        A.      Plaintiffs’ Express Warranty Claims Fails Because, as the Court Has
                Previously Ruled, the Master Complaint Fails to State Sufficient Allegations
                to Support This Claim

        Plaintiffs’ express warranty claims (Count V) fail because neither the Master Complaint

 nor the short-form complaints allege any express warranties about the performance of Cook’s

 IVC filters.

        The Court has already addressed this issue in the context of Texas-based Plaintiff Emily

 Apple’s express warranty claim, holding that the Master Complaint and plaintiff’s short-form

 complaint failed to sustain a claim for express warranty and noting that “the omission of her

 specific warranty allegations is fatal.”   See Court’s Entry on Motion for Judgment on the

 Pleadings Based on the Statute of Repose, Dkt. 4918, pp. 13-14 (rejecting Plaintiff Apple’s

 express warranty arguments).     The Court also held that “even if she had included such

 allegations in her Short Form Complaint, her claim would not survive” because she failed to




 8
        None of these 26 Plaintiffs asserts claims of wrongful death or survivorship, counts IX
 and X, so Cook does not address those counts here.

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 allege who made the alleged verbal warranty or claim that she relied on the Cook written

 materials. Id.9

        Because the general assertions in the Master Complaint cannot sustain a claim for express

 warranty and, as far as Cook can determine, Plaintiffs have not asserted case-specific express

 warranty allegations in their individual complaints,10 Cook is entitled to dismissal of Plaintiffs’

 express-warranty claims.

        B.         Plaintiffs’ Consumer Fraud Claims Fail Because They Are Not Plead With
                   The Particularity Required By Federal Rule of Civil Procedure 9(b)

        Plaintiffs’ fraud-based consumer protection claims (Count VII) fail as a matter of law

 because Plaintiffs failed to plead them with the particularity required by Fed. R. Civ. P. 9(b).

 Federal case law makes clear that plaintiffs in federal court on diversity grounds must plead their

 fraud-based consumer-protection claims with particularity. That is, “when fraud is alleged, it

 must be done with particularity and plead the who, what, when, where, and how of the alleged

 fraud.” Uni*Quality, Inc. v. Infotronx, Inc., 974 F.2d 918, 923 (7th Cir. 1992); see also Pirelli

 Armstrong Tire Corp. Retiree Med. Benefits Tr. v. Walgreen Co., 631 F.3d 436, 442 (7th Cir.

 2011) (applying Rule 9’s particularity requirement to claim under Illinois Consumer Fraud and

 Deceptive Business Practices Act); In re Bridgestone/Firestone, Inc. Tires Prod. Liab. Litig., 155

 F. Supp. 2d 1069, 1109 (S.D. Ind. 2001) (dismissing claims under Michigan and Tennessee

 consumer protection statutes for failure to meet the heightened pleading requirements of Rule



 9
        Indeed, in the Brand case, Plaintiff Brand did not even attempt to defend her express
 warranty claim, and the Court readily granted Cook summary judgment on the claim. See Entry
 on Defendants’ Motion for Summary Judgment, Dkt. 9696, p. 2.
 10
        Cook notes that in an earlier motion, Plaintiff Apple attempted to support her express
 warranty claim against Cook’s motion by citing the Cook Patient Guide and an alleged oral
 warranty, but the Court nevertheless found her express warranty claim inadequate as plead. See
 Dkt. 4918 at 14-15. Here, Plaintiffs do not allege even those insufficient grounds for an express
 warranty claim, and a fortiori fail as a matter of law.

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 9(b), including failure to allege “individual reliance”). Federal district courts around the country

 impose the same requirement.11

        Here, Plaintiffs’ Master Complaint makes only the most general of allegations about

 Cook’s allegedly fraudulent conduct:

        Defendants misrepresented the alleged benefits and characteristics of Cook’s IVC
        Filters; suppressed, omitted, concealed, and failed to disclose material information
        concerning known adverse effects of Cook’s IVC Filters; misrepresented the
        quality and efficacy of Cook’s IVC Filters as compared to much lower-cost
        alternatives; misrepresented and advertised that Cook’s IVC Filters were of a
        particular standard, quality, or grade that they were not; misrepresented Cook’s
        IVC Filters in such a manner that later, on disclosure of the true facts, there was a
        likelihood that Plaintiffs would have opted for an alternative IVC Filter or method
        of preventing pulmonary emboli.

 Dkt. 213, ¶ 116. These allegations contain no allegations of the who, what, or how of the alleged

 misrepresentations, and thus fail to meet Rule 9’s particularity requirement.         None of the

 Plaintiffs’ short-form complaints provides any additional or more specific allegations; they

 simply adopt the Master Complaint’s vague allegations. Because Plaintiffs have offered only

 vague, general allegations in support of their consumer fraud claims, those claims fail as a matter

 of law, and the Court should grant summary judgment in Cook’s favor on these claims. See

 Holmes, 2015 WL 7252662, at *2; Gibson, 2012 WL 1253007, at *2; Tuttle, 2016 WL, 3198230,


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         See, e.g., Holmes v. Behr Process Corp., 2015 WL 7252662, at *2 (N.D. Ala. Nov. 17,
 2015); Gibson v. Credit Suisse AG, 2012 WL 1253007, at *2 (D. Idaho Mar. 30, 2012); Tuttle v.
 Treasure Valley Marine, Inc., 2016 WL, 3198230, at *2 (D. Idaho June 8, 2016) (“As discussed
 above, allegations involving fraud, such as this [Idaho Consumer Protection Act claim], must be
 accompanied by the ‘who, what, when, where, and how’ of the misconduct charged.”); Home
 Owners Ins. Co. v. ADT LLC, 109 F. Supp. 3d 1000, 1009 (E.D. Mich. 2015) (“Because
 Plaintiff’s claim for violation of the MCPA does not meet Rule 9(b)'s heightened pleading
 requirements, this claim will be dismissed.”); Peacock v. AARP, Inc., 181 F. Supp. 3d 430, 435
 (S.D. Tex. 2016) (“Claims alleging violations of the Texas Insurance Code and the DTPA and
 those asserting fraud, fraudulent inducement, fraudulent concealment, and negligent
 misrepresentation are subject to the requirements of Rule 9(b)”) (citing Frith v. Guardian Life
 Ins. Co. of Am., 9 F. Supp. 2d 734, 742 (S.D.Tex.1998)); BHR Recovery Communities, Inc. v. Top
 Seek, LLC, 355 F. Supp. 3d 416, 424 (E.D. Va. 2018) (“As a claim sounding in fraud, Federal
 Rule of Civil Procedure 9(b) requires plaintiffs to plead VCPA claims with particularity.”).

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 at *2; Home Owners Ins. Co., 109 F. Supp. 3d at 1009; Peacock, 181 F. Supp. 3d at 435; BHR

 Recovery Communities, Inc., 355 F. Supp. 3d at 424.

        C.      Plaintiffs’ Derivative Claim for Loss of Consortium and Punitive Damages
                Fail Because They Cannot Stand on Their Own

        Finally, Plaintiffs’ claims for loss of consortium (Count VIII) and punitive damages

 (Count XI) fail as a matter of law because they are derivative claims that cannot stand on their

 own. “[A] cause of action for loss of consortium derives its viability from the validity of the

 claim of the injured spouse against the wrongdoer.” Miller v. Cent. Indiana Cmty. Found., Inc.,

 11 N.E.3d 944, 963 (Ind. Ct. App. 2014) (quoting Bd. of Comm'rs of Cass Cnty. v. Nevitt, 448

 N.E.2d 333, 341 (Ind.Ct.App.1983)).       See also Flying J Fish Farm v. Peoples Bank of

 Greensboro, 12 So. 3d 1185, 1196 (Ala. 2008) (“A loss-of-consortium claim is derivative of the

 claims of the injured spouse. Therefore, [the wife’s] claim must fail if [the husband’s] claims

 fail.”); Runcorn v. Shearer Lumber Prods., Inc., 690 P.2d 324, 329 (Idaho 1984) (“The claim for

 loss of consortium is a wholly derivative cause of action contingent upon a third party’s tortious

 injury to a spouse.”); DeGrate v. Exec. Imprints, Inc., 261 S.W.3d 402, 412 (Tex. Ct. App. –

 Tyler Div. 2008) (“When a loss of consortium is derived from an injury to the spouse, the claim

 is derivative and thus, must fail if the injured spouse’s claims against the defendant fails.”);

 Benavides v. Cty. of Wilson, 955 F.2d 968, 975 (5th Cir. 1992) (finding that summary judgment

 against non-derivative claim also barred the derivative loss of consortium claim).

        In the MDL context, the District of Minnesota dismissed loss of consortium claims as

 derivative when it dismissed the entire master complaint in an MDL involving a PMA device due

 to federal preemption:

        Claims such as loss of consortium … do not appear to fit neatly into any of the
        aforementioned categories. Nevertheless, the Court agrees with Medtronic that
        any claims in the Complaint not addressed above are derivative of Plaintiffs’ other
        claims and hence cannot stand.

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 In re Medtronic, Inc. Sprint Fidelis Leads Prod. Liab. Litig., 592 F. Supp. 2d 1147, 1165

 (D. Minn. 2009), aff’d, 623 F.3d 1200 (8th Cir. 2010).

        Here, as discussed above, all of the Plaintiffs’ substantive claims fail as a matter of law,

 and the derivative loss of consortium and punitive damages claims fail along with those

 substantive claims. See e.g., Flying J Fish Farm, 12 So. 3d at 1196; Runcorn, 690 P.2d at 329;

 DeGrate, 261 S.W.3d at 412; Benavides, 955 F.2d at 975; In re Sprint Fidelis Leads, 592

 F. Supp. 2d at 1165. Accordingly, the Cook Defendants are also entitled to summary judgment

 on these derivative claims.

                                          CONCLUSION

        For the foregoing reasons, the Cook Defendants are entitled to summary judgment on the

 claims brought by these 26 Plaintiffs.


                                              Respectfully Submitted,

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                                  CERTIFICATE OF SERVICE

        I hereby certify that on October 1, 2019, a copy of the foregoing COOK

 DEFENDANTS’ MEMORANDUM IN SUPPORT OF THEIR RENEWED OMNIBUS

 MOTION FOR SUMMARY JUDGMENT BASED ON APPLICABLE STATUTE OF

 LIMITATIONS was filed electronically and notice of the filing of this document will be sent to

 all parties by operation of the Court’s electronic filing system to CM/ECF participants registered

 to receive service in this matter. Parties may access this filing through the Court’s system.



                                                         /s/ Andrea Roberts Pierson




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